USDC IN/ND case 2:19-cr-00047-PPS-JPK document 100 filed 10/16/20 page 1 of 7


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

                      v.                               Cause No. 2:19-CR-47-PPS-JPK

 VONZANT H. STOUGHTON, II,

               Defendant.

                                 OPINION AND ORDER

       Road rage is an all too common occurrence. Rational people seemingly go

bananas over the slightest of infractions, and violence sometimes ensues. Why this

occurs is a puzzle. It must be the anonymity of driving in one’s car that makes

otherwise normal people think it’s entirely appropriate to temporarily lose it. It’s one of

those road rage incidents in the Indiana Dunes National Lakeshore that led to a

misdemeanor conviction for simple assault and a ten-day jail sentence for Vonzant

Stoughton, II. His conviction for a Class B misdemeanor under 18 U.S.C. § 113(a)(5) is

from a bench trial before Magistrate Judge Kolar. In his appeal, the only issue is the

admissibility of surveillance video of the incident. Stoughton did not object at trial to

the admission of the video. But he now claims admitting it in evidence was an error that

substantially affected his rights. Because I find the magistrate judge correctly admitted

the crucial video evidence, I affirm the conviction.
USDC IN/ND case 2:19-cr-00047-PPS-JPK document 100 filed 10/16/20 page 2 of 7


                                        Background

       On January 4, 2019, Stoughton was driving to Michigan City, Indiana with his

service dog to visit the Friendship Botanical Gardens [DE 96 Trial Transcript (Tr.) 94.]

One might think that heading to a botanical garden would put you in a peaceful mind

set, but alas, whatever tranquility there may have been quickly dissipated when

Stoughton encountered Ms. Michelle Perry, a fellow motorist. Perry was driving to meet

her friend at the Indiana Dunes [Tr. 14.] When Stoughton and Perry first crossed paths,

Stoughton says that Perry “started pulling out as if to do a U-turn” causing him to

swerve and brake suddenly [Tr. 95.] Stoughton testified that he continued driving the

speed limit [Tr. 96.] Perry says that Stoughton slowed down to 10 miles per hour. [Tr.

15.] This seems like it was an obvious effort to annoy Perry. Eventually, Perry grew

impatient with Stoughton’s slow poke ways, and she passed him [Tr. 16, 97.] Stoughton

took umbrage; he viewed Perry’s driving as reckless and followed her to the Indiana

Dunes parking lot [Tr. 98.] He got his service dog out of the car to confront and ordered

it to attack Perry. [Tr. 17-19.] The dog, for its part, must be more lover than fighter

because he just ignored Stoughton and walked away. [Tr. 19.] Stoughton then put the

dog back in the car and resumed the confrontation with Perry. [Tr. 18-19, 104.]

       Here’s what happened next, recounted in the light most favorable to the verdict.

Perry says she lifted her hand guardedly and Stoughton swatted her arm down and

struck her in the jaw [Tr. 19.] Stoughton denies any physical contact with Perry [Tr. 105-

106.] Instead, he claims he maintained his distance during the confrontation before

returning to his vehicle and leaving the parking lot [Tr. 107.] Perry used her cell phone
USDC IN/ND case 2:19-cr-00047-PPS-JPK document 100 filed 10/16/20 page 3 of 7


to video Stoughton’s departure and then called the police [Tr. 20.] Park Ranger Frazier

arrived at the scene and spoke with Perry [Tr. 55.] Ranger Frazier observed and

photographed a red mark on Perry’s chin [Tr. 55.]

        At the bench trial, Magistrate Judge Kolar heard testimony from Stoughton,

Perry, Ranger Frazier, and a nearby witness Scott Meland. As is becoming somewhat

the norm these days, the whole incident was captured on surveillance videos that the

Park Service installed in the parking lot where the encounter occurred. The Government

offered several videos and enhanced photographs into evidence. The video at issue on

appeal encompassed the area of the parking lot confrontation. Prior to admitting this

evidence, the magistrate judge asked if the defense had any objection [Tr. 57.] Defense

counsel only objected to admission of the enhanced photographs [Tr. 57-58.]

Mr. Nagelberg: For the sake of my objection, it goes to the particular camera number
that allegedly depicts the act of assault because I do have an objection to any
enhancements that were done beyond the original depiction by the surveillance camera.
The Court: Let’s take this one at the time. Do you have any objection to anything other
than the enhancement?
Mr. Nagelberg: I do not.
The Court: So those will be admitted.

[Id.]

        The magistrate judge viewed the video in court and multiple times in chambers

[Tr. 59, 133.] He observed “a tall figure who had previously left Mr. Stoughton’s vehicle

and followed a dog. The tall figure approached a smaller figure. The smaller figure put

her hand up, and the larger figure swung at least one arm.” [Tr. 133.]

        After considering the evidence, the magistrate judge concluded that Perry’s

statements were credible and corroborated by the video and witness testimony,
USDC IN/ND case 2:19-cr-00047-PPS-JPK document 100 filed 10/16/20 page 4 of 7


whereas Stoughton’s account changed over time. The court found Stoughton guilty of

simple assault and sentenced him to ten days in jail. Stoughton appealed, claiming that

the magistrate judge erred in admitting the surveillance video even though it was not

objected to at trial. A defendant must appeal a misdemeanor conviction to a district

judge within 14 days of its entry. Fed. R. Crim. P. 58(g)(2)(B). While this appeal initially

was filed with the Seventh Circuit, I have deemed the notice timely for this appeal.

                                         Discussion

       There is an initial question whether trial counsel objected to the relevant video

being admitted at trial. In reviewing the record, Magistrate Kolar specifically asked

trial counsel if he objected to the video and he said that he did not. [Tr. 57-58.] His

objection only related to the enhanced photos.

       Waiver is the intentional relinquishment of a known right. United States v. Doyle,

693 F.3d 769, 771 (7th Cir. 2012). It is different from forfeiture because a waived issue

cannot be reviewed on appeal; a forfeited error can be, but only under a plain error

standard. Id. Declining to object “to the admissibility of this evidence at trial results in

waiver of this objection.” United States v. Navarez, 954 F.2d 1375, 1380 (7th Cir. 1992).

Therefore, “the evidence has not been preserved for appellate review.” Wilson v.

Williams, 182 F.3d 562, 575 (7th Cir. 1999). As best I can tell, counsel specifically waived

any objection to the admissibility of the video that is the subject of this appeal. As such,

the issue is not reviewable in this appeal.

       But even if I were to consider the issue forfeited instead of waived, it gets

Stoughton nowhere. This is because the video was properly admitted at trial. When
USDC IN/ND case 2:19-cr-00047-PPS-JPK document 100 filed 10/16/20 page 5 of 7


counsel fails to object to the admissibility of evidence, future review is determined

under the plain error standard. United States v. Duran, 407 F.3d 828, 834 (7th Cir. 2005).

Plain error is established when a defendant shows (1) “an error that has not been

intentionally relinquished or abandoned;” (2) that was “clear or obvious;” (3) that

“affected the defendant’s substantial rights,” meaning that there is a “reasonable

probability that but for the error, the outcome of the proceeding would have been

different;” and (4) that “seriously affect[ed] the fairness, integrity, or public reputation

of the judicial proceedings.” Rosales-Mireles v. United States, 138 S. Ct. 1897, 1904-05

(2018).

          Trial courts are afforded “great deference” in admissibility of evidence

determinations “‘because of the trial judge’s first-hand exposure to the witnesses and

the evidence as a whole, and because of the judge’s familiarity with the case and ability

to gauge the impact of the evidence in the context of the entire proceeding.’” Duran, 407

F.3d at 834 (citing United States v. Van Dreel, 155 F.3d 902, 905 (7th Cir. 1998)). A party

seeking to admit a video into evidence must first establish the video’s genuineness. Fed.

Rule Evid. 901. This requires proof that the item is what it purports to be and showing

its relevance to an issue at trial. Fed. R. Evid. 401, 402.

          Stoughton’s real argument is not relevance—how could it be? The video is of

course relevant because it plainly depicts the interaction on which the charge is based.

Instead, the issue is whether the video was properly authenticated. In order to

authenticate the video, a party may offer testimony from a knowledgeable witness. Fed.

R. Evid. 901; see United States v. Cejas, 761 F.3d 717, 723-24 (7th Cir. 2014) (explaining
USDC IN/ND case 2:19-cr-00047-PPS-JPK document 100 filed 10/16/20 page 6 of 7


that proper authentication may include testimony that the camera functioned properly,

the operator was competent, or that the recording fairly and accurately represented the

location or depicted the scene).

       The testimony provided by Ranger Frazier and Meland give sufficient support to

authenticate the video. Ranger Frazier testified that he was personally familiar with the

surveillance cameras and that the cameras functioned properly, aside from the time

stamp being one hour off. He explained that the rangers do not change the time stamp

when daylight savings time occurs. Therefore, he indicated the proper time of the video

was one hour later than indicated, but otherwise the camera was functioning properly.

Ranger Frazier testified that the recording fairly and accurately represented the

location. He identified vehicles in the video that were present when he arrived on the

scene and testified as to observing and photographing a red mark on Perry’s face.

       Meland, the bystander witness, corroborated the events in the video with his

personal knowledge. He was between 180 to 200 feet from the confrontation and

witnessed the “heated discussion” between Stoughton and Perry. When Stoughton first

returned to his vehicle, Meland walked away with his friend. Meland later saw

Stoughton’s vehicle exit the parking lot.

       The testimonial evidence corroborates the events of January 4, 2019 in the video

and supports a finding that it was a true and accurate representation of the location and

time confrontation. After close review of the entire trial transcript and the briefs, I find

that admission of the video by the magistrate judge was not an error, plain or

otherwise.
USDC IN/ND case 2:19-cr-00047-PPS-JPK document 100 filed 10/16/20 page 7 of 7


ACCORDINGLY:

      For these reasons, the magistrate judge’s finding that Vonzant Stoughton II is

guilty of the Class B misdemeanor of assault, as charged in Count II of the

information, is AFFIRMED.

      SO ORDERED.

      ENTERED: October 16, 2020.
                                                / s/ Philip P. Simon
                                                PHILIP P. SIMON, JUDGE
                                                UNITED STATES DISTRICT COURT
